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lN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS

TEXARKANA DIVISION
DANCO, INC. §
Plaintiff, §
VS, § Case No. 5:16-cv-0073-JRG-CMC
FLUIDMASTER, INC. §
Defendant. §

SUPPLEMENTAL MEDIATOR’S REPORT

As a result of post-mediation discussions between the parties With the assistance of the
mediator, a settlement has been reached as to all claims by and between Plaintiff Danco, Inc. and
Defendant Fluidmaster, Inc.

Dated: January 5, 2018.
/s/ JeffKaplan

Hon. J eff Kaplan (Ret.)
Mediator

 

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CERTIFICATE OF SERVICE
-_) l\ ’r_
Ihereby certify that on this `. t day of\i',,` cL( ' ZC:( §i, I electronically submitted the

foregoing document With the clerk of the court for the U.S. District Court, Eastern District of
Texas.

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